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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS


ERIC CERVINI, WENDY DAVIS, DAVID
GINS, and TIMOTHY HOLLOWAY,

                Plaintiffs,           Civil Action No. 1:21-cv-565-RP
                                      Judge Robert Pitman
     v.

ELIAZAR CISNEROS, HANNAH CEH,
JOEYLYNN       MESAROS, ROBERT
MESAROS, DOLORES PARK, and JOHN
and JANE DOES,

               Defendants.



      BRIEF OF AMICUS CURIAE CAMPAIGN LEGAL CENTER ACTION
           IN SUPPORT OF PLAINTIFFS’ BRIEF IN OPPOSITION
                TO DEFENDANTS’ MOTIONS TO DISMISS
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                                        INTRODUCTION
       Congress enacted the Ku Klux Klan (“KKK”) Act in 1871 to address the “wave of

counterrevolutionary terror” that swept over the Reconstruction Era.1 At the behest of elected

officials and prominent political figures in the postbellum South, violent white mobs banded

together to target their political opponents—newly empowered Black voters, their allies, and the

candidates they supported—with oppressive fury. The KKK’s attacks were as widespread as they

were vicious. Southern state governments either acquiesced to this chaos or were too overwhelmed

to counteract it, and the federal government lacked the tools to ensure free political advocacy and

protect the proper functioning of the democratic process in the aftermath of the Civil War. The

KKK Act, codified in part at 42 U.S.C. § 1985, was the answer.

       The KKK Act remains the answer for addressing political violence today. On October 30,

2020, Defendants engaged in a highway ambush by surrounding and then terrorizing and slamming

into the vehicles of supporters of an opposing federal political candidate. Using this coordinated

“Trump Train” intimidation tactic and riding under the banner of Confederate battle flags,

advocates of one presidential campaign attempted to overcome their political adversaries not

through robust debate but with raw violence. This use of threats and physical force in an effort to

cow the supporters of an opposing political campaign shakes the foundation of our democratic

process. And it amounts to a modern-day iteration of precisely the political violence that Congress

sought to prevent with the KKK Act. The statute’s protections of supporters and advocates of

federal candidates apply just as forcefully here as they did in their original context 150 years ago.

                                 STATEMENT OF INTEREST
       Amicus curiae Campaign Legal Center Action (“CLC Action”) and its affiliate Campaign



1
 Eric Foner, Reconstruction: America’s Unfinished Revolution 425 (2d ed. 2014); see also
McCord v. Bailey, 636 F.2d 606, 615 (D.C. Cir. 1980) (summarizing history).
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Legal Center (CLC) are nonpartisan, nonprofit organizations that have, collectively, been working

for more than fifteen years to advance democracy through law. Amicus CLC Action and its affiliate

have litigated numerous voting rights cases in federal courts, including as arguing counsel for the

plaintiffs in the United States Supreme Court in Gill v. Whitford, 138 S. Ct. 1916 (2018) and

Husted v. A. Philip Randolph Institute, 138 S. Ct. 1833 (2018), and as counsel for plaintiffs in

Veasey v. Abbott, 830 F.3d 216 (5th Cir. 2016) (en banc) (challenging Texas’s photo ID law), and

Jones v. DeSantis, 975 F.3d 1016 (11th Cir. 2020) (en banc) (challenging Florida’s felony

disenfranchisement law). CLC has filed amicus curiae briefs in every major voting rights case

before the Supreme Court in recent years, including Brnovich v. Democratic National Committee,

141 S. Ct. 2321 (2021), Cooper v. Harris, 137 S. Ct. 1455 (2017), Evenwel v. Abbott, 136 S. Ct.

1120 (2016), and Shelby County v. Holder, 570 U.S. 529 (2013).

       CLC also submitted amicus curiae briefs in recent district court cases involving claims

under 42 U.S.C. § 1985(1)2 and 42 U.S.C. § 1985(3).3 Amicus CLC Action has a demonstrated

interest and expertise in the interpretation of laws, such as Section 1985(3), that protect voting

rights, voters and campaign workers, and the proper functioning of the democratic process.

                                         ARGUMENT
       Amicus CLC submits this brief to clarify several issues related to the interpretation and

application of the support-or-advocacy clauses of 42 U.S.C. § 1985(3). Specifically, CLC Action

seeks to explain why—based on the plain meaning of the text, relevant precedent, legislative

history, and other sources—Defendants’ alleged violent conspiracy to attack and intimidate

supporters of a presidential campaign fits squarely within those clauses. Defendants’ attempts to


2
  Blassingame v. Trump, No. 2:21-cv-858 (D.D.C. 2021); Thompson v. Trump, No. 2.21-cv-400
(D.D.C. 2021); Swalwell v. Trump, No. 2:21-cv-586 (D.D.C. 2021).
3
  Cockrum v. Donald J. Trump for President, Inc., No. 3:18-cv-00484 (E.D. Va. 2018); LULAC v.
Public Interest Legal Foundation, No. 1:18-cv-00423 (E.D. Va. 2018).
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muddy the plain application of the support-or-advocacy clauses by improperly narrowing their

scope and conflating case law related to other clauses of the KKK Act must be rejected.

       The Court should reject Defendants’ arguments for multiple reasons. First, Congress

deliberately designed Section 1985(3) to broadly address political violence in all its forms.

Defendants’ cramped reading of the statute that erroneously conflates two distinct sets of

provisions should be rejected.4 Second, Plaintiffs’ allegations are sufficient to state a cause of

action under Section 1985(3) because they properly assert a factual basis for the substantive rights

that the support-or-advocacy clauses create, including the right to be free from political

intimidation, and they are not required to establish state action nor racial animus. Third, Congress

had ample authority to enact Section 1985(3) under the Thirteenth and Fourteenth Amendments,

as well as the Elections Clause, Necessary and Proper Clause, and Guarantee Clause; Defendant

Park’s strained arguments challenging Congress’s authority are unfounded. Finally, the First

Amendment does not immunize Defendants from liability for their involvement in the conspiracy.

I.     Section 1985(3) is deliberately broad and must be interpreted accordingly.
       Congress broadly designed the KKK Act to address the dire threat that anti-democratic,

white supremacist groups posed to the proper functioning of the democratic process after the Civil

War. In 1871, President Ulysses S. Grant explicitly appealed to Congress to pass legislation that

would equip the federal government to address the severe “condition of affairs [that] now exists”

in the postbellum South that “render[ed] life and property insecure” in the country. Cong. Globe,

42d Cong., 1st Sess. 236, 244 (1871) (all legislative history included in Ex. B). Congress compiled

an extensive record detailing the rampant terror and intimidation that swept the country during the



4
  Defendant Cisneros’s argument that a claim under Section 1985(3) is outside the Court’s subject
matter jurisdiction, Cisneros MTD at 1-2, is a non-starter; claims brought under the KKK Act—a
federal statute—are clearly within this Court’s federal question jurisdiction. See 28 U.S.C. § 1331.
                                                 3
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Reconstruction Era, see, e.g., id. 245-48, 320-21, 369, 374, 428, 436, with one leading lawmaker

summarizing that “lawless bands of men, amounting to hundreds, . . . have been roaming over the

country independent and unchallenged, committing these atrocities, without fear of punishment,

cheered by their neighbors, and despising your laws and your authority;” and concluding that “[w]e

are called upon to legislate in regard to these matters,” see id. at 820 (Sen. Sherman). Congress

answered this call by enacting the KKK Act, “creat[ing] a broad remedy to address [its] broad

concerns” of attacks on American democracy, see McCord, 636 F.2d at 615.

        This broad remedy vindicates violations of the KKK Act in a range of modern contexts

that are distinct from the statute’s historical origin. See, e.g., Stern v. U.S. Gypsum, Inc., 547 F.2d

1329, 1335 (7th Cir. 1977) (construing the KKK Act in a new context and concluding that

“Congress surely may use the lesson of a particular historical period as the catalyst for a law of

more general application” for the future). But here, the mob violence and intimidation targeted at

political supporters that drove Congress to pass the KKK Act are legally indistinguishable from

Defendants’ coordinated attack on the Biden campaign on October 30, 2020. Indeed, the picture

of that day is remarkably reminiscent of historical political violence, and it is just as unlawful for

renegade groups brandishing Confederate battle flags to take to a public highway to ambush the

supporters of an opposing political candidate in 2020 as it was in 1871. Congress’s sweeping

statutory design thus applies with equal force to address the injuries that Defendants caused. The

text, structure, and legislative history of Section 1985(3) confirm this application, and as with all

“Reconstruction civil rights statutes,” the Court should “accord [the statute] a sweep as broad as

[its] language.” Griffin v. Breckenridge, 403 U.S. 88, 97 (1971) (citation omitted); accord Bostock

v. Clayton Cty., 140 S. Ct. 1731, 1747 (2020) (instructing “courts [to] apply the broad rule” when

the text so dictates).



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       A.       Section 1985(3)’s broad text creates robust substantive rights to protect
                voters and campaign workers engaged in the democratic process.
       Congress’s broad intent is manifest in the plain text of Section 1985(3), which represents

a comprehensive federal protection against political violence. Although “[t]he length and style” of

the statute “make[s] it somewhat difficult to parse[,]” “its meaning becomes clear” if “its several

components are carefully identified,” Kush v. Rutledge, 460 U.S. 719, 724 (1983), and broken

down by each clause separated by a semi-colon:

       If two or more persons in any State or Territory conspire or go in disguise on the highway
       or on the premises of another, for the purpose of depriving, either directly or indirectly,
       any person or class of persons of the equal protection of the laws, or of equal privileges
       and immunities under the laws;

       or for the purpose of preventing or hindering the constituted authorities of any State or
       Territory from giving or securing to all persons within such State or Territory the equal
       protection of the laws;

       or if two or more persons conspire to prevent by force, intimidation, or threat, any citizen
       who is lawfully entitled to vote, from giving his support or advocacy in a legal manner,
       toward or in favor of the election of any lawfully qualified person as an elector for President
       or Vice President, or as a Member of Congress of the United States;

       or to injure any citizen in person or property on account of such support or advocacy;

       in any case of conspiracy set forth in this section, if one or more persons engaged therein
       do, or cause to be done, any act in furtherance of the object of such conspiracy, whereby
       another is injured in his person or property, or deprived of having and exercising any right
       or privilege of a citizen of the United States, the party so injured or deprived may have an
       action for the recovery of damages occasioned by such injury or deprivation, against any
       one or more of the conspirators.

42 U.S.C. § 1985(3) (emphases added).

       Reviewing Section 1985(3)’s clauses this way clarifies that the first four clauses set out

separate substantive protections, and the fifth provides the cause of action and remedy for

violations of each of those separate protections. The first two clauses include a common phrase:

“equal protection of the laws.” These Section 1985(3) equal protection clauses prohibit

conspiracies to deprive persons of equal protection of the laws (clause one) and to hinder state

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authorities from securing equal protection (clause two). Clauses three and four, by contrast, include

the phrase “support or advocacy” but say nothing of equal protection. These so-termed support-

or-advocacy clauses of the statute prohibit conspiracies to use violence or intimidation to prevent

any citizen from supporting or advocating for federal candidates (clause three) or to injure any

citizen on account of their support or advocacy (clause four). As noted, clause five provides the

cause of action for any parties injured “in person or property” by the prohibited conspiracy to

recover damages from any of the co-conspirators.

       The Supreme Court has recognized that Section 1985(3)’s equal protection clauses diverge

from other parts of the statute and has declined to apply interpretations limiting the coverage of

the first two clauses to the KKK Act more generally. See Kush, 460 U.S. at 724-26; Bray v.

Alexandria Women’s Health Clinic, 506 U.S. 263, 267 (1993) (specifying that the Griffin analysis

concerns “the first clause of § 1985(3)”); see also Griffin, 403 U.S. at 102 n.9 (carefully noting

that its reasoning applied to claims “under the portion of § 1985(3) before” the Court—the equal

protection clauses).5 This distinction also applies to differentiate the support-or-advocacy clauses,

which are designed to protect “the right to support candidates in federal elections” rather than to

safeguard equal protection of rights derived from a separate source. Kush, 460 U.S. at 726.

       The equal protection clauses are distinct because they require examining the conspirators’

purpose and endorse equality in a plaintiff’s existing rights. These clauses “provide[] no

substantive rights [them]sel[ves],” Great American Fed. S. & L. Ass’n v. Novotny, 442 U.S. 366,




5
  See also Ben Cady & Tom Glazer, Voters Strike Back: Litigating Against Modern Voter
Intimidation, 39 N.Y.U. REV. L. & SOC. CHANGE 173, 203-04 (2015) (summarizing differences
between the Section 1985(3) clauses); Richard Primus & Cameron O. Kistler, The Support-or-
Advocacy Clauses, 89 FORDHAM L. REV. 145, 154 (2020) (same); Note, The Support or Advocacy
Clause of § 1985(3), 133 HARV. L. REV. 1382, 1387 (2020) (same).

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372 (1979), but simply vindicate the deprivation of either “equal privileges and immunities” or

“equal protection of the laws” that have their substantive basis “found elsewhere,” United Bhd. of

Carpenters Local 610 v. Scott, 463 U.S. 825, 833 (1983). Given that many relevant constitutional

rights that could underlie an equal protection clauses claim require state action,6 plaintiffs often

(but not always) must “prove that the State was somehow involved in or affected by the

conspiracy.” Carpenters, 463 U.S. at 833. Additionally, because equality is the touchstone of

claims under Section 1985(3)’s first and second clauses, plaintiffs must establish “class-based,

invidiously discriminatory animus behind the conspirators’ action.” Griffin, 403 U.S. at 96-97.

Thus, under the test established in Griffin and its progeny, plaintiffs pursuing a Section 1985(3)

equal protection clauses claim must allege: (1) a violation of an independent right, such as First

Amendment rights to free speech or association; (2) a “racial, or perhaps otherwise class-based”

deprivation of that right; and (3) often state action. Id. at 102; Carpenters, 463 U.S. at 834-35.7

        The Griffin test does not apply to a claim under Section 1985(3)’s support-or-advocacy

clauses. Rather, the Section 1985(3) support-or-advocacy clauses provide far broader protections

that are “something more and something different” because they effectuate “the specific attention

of Congress which has provided a specific remedy for interference by private individuals” of the

rights of voters to give their support or advocacy for federal candidates. Paynes v. Lee, 377 F.2d



6
  Some exceptions exist, such as a claim of conspiracy to deprive individuals of their Thirteenth
Amendment rights, which does not require a showing of state action. Griffin, 403 U.S. at 104-05.
7
   Although the Novotny decision imprecisely described this Griffin test as the “criteria for
measuring whether a complaint states a cause of action under § 1985(3),” id. at 372, it did not at
all discuss the support-or-advocacy clauses, see id. at 370-72. Neither did the dissent, which
discussed only the meaning of the “equal privileges and immunities under the laws” portions of
Section 1985(3). See id. at 388-90 (White, J., dissenting). Indeed, much of the confusion
concerning the jurisprudence involving Section 1985(3) stems from courts referencing the general
section number as a shorthand for a particular provision because Congress’s arcane drafting
conventions from 1871 breaks down the statute’s distinct provisions into separate clauses rather
than citable subsections. See Primus & Kistler, supra n.5, at 184-89.
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61, 64 (5th Cir. 1967). The support-or-advocacy clauses “relate[] to institutions and processes of

the Federal Government” and broadly protect its electoral system, lacking the textual limits

applicable to claims under the equal protection clauses. See Kush, 460 U.S. at 724. Instead of

speaking in terms of “purpose” to deprive “equal protection of the laws, or of equal privileges and

immunities under the laws,” the support-or-advocacy clauses expansively protect “any citizen”

from any conspiracy that uses “force, intimidation, or threat” to prevent the citizens’ “support or

advocacy” of a federal candidate or injure them on account of that support or advocacy. 42 U.S.C.

§ 1985(3). Because of these textual differences, “there is no suggestion” that the equal protection

clauses’ limiting requirements to prove discrimination involving a separate substantive right that

potentially demands state action would apply to “any other portion of § 1985,” including the

support-or-advocacy clauses. Kush, 460 U.S. at 726; see also Bray, 506 U.S. at 267.

       The support-or-advocacy clauses instead offer far-reaching substantive protections that

enforce Congress’s extensive “power to protect the elections on which its existence depends from

violence[.]” Ex Parte Yarbrough (The Ku Klux Cases), 110 U.S. 651, 658 (1884). As discussed in

further detail infra Part II, the support-or-advocacy clauses establish their own statutory rights that

do not compel proof of state action or class-based animus. Their elements, instead, require

plaintiffs to establish (1) the Defendants participated in a conspiracy;8 (2) to use intimidation,

force, or threats against citizens; (3) to obstruct their support or advocacy of a federal candidate.

Binding precedent supports this reading of the support-or-advocacy clauses, see Paynes, 377 F.2d




8
  Accepting the pleaded facts as true, amicus CLC Action examines the Section 1985(3) framework
without discussing the elements of a conspiracy. However, we note that the records of the events
in question and communications leading up to those events speak for themselves. See, e.g., Kate
McGee, Jeremy Schwartz, and Abby Livingston, “Biden camp cancels multiple Texas events after
a ‘Trump Train’ surrounded a campaign bus,” TEXAS TRIBUNE (Oct. 31, 2020),
https://www.texastribune.org/2020/10/31/biden-trump-texas-bus/ (last accessed Sept. 9, 2021).
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at 63-64, and the Court should follow the established path of recent district courts interpreting the

statute in this manner. See, e.g., Nat’l Coal. on Black Civic Participation v. Wohl, 498 F. Supp. 3d

457, 486 & n.30 (S.D.N.Y. 2020); LULAC v. Pub. Int. Legal Found., No. 1:18-CV-00423, 2018

WL 3848404, at *5 (E.D. Va. Aug. 13, 2018); Ariz. Democratic Party v. Ariz. Republican Party,

No. 16-cv-03752, 2016 WL 8669978, at *5 n.4 (D. Ariz. Nov. 4, 2016); accord Allen v. City of

Graham, No. 1:20-CV-997, 2021 WL 2223772, at *8 (M.D.N.C. June 2, 2021).

       B.       Historical and statutory context reinforces that the support-or-advocacy
                clauses are broad.
       The historical backdrop in 1871, the statutory context of the KKK Act as a whole, and the

history of prior failed legislation to protect voters and campaign workers from attack all further

reinforce the expansive application of the Section 1985(3) support-or-advocacy clauses.

       The historical backdrop of the KKK Act confirms that the purpose of Section 1985(3) was

to fully protect citizens from attacks on their political support or advocacy. “[S]tatutes are

construed by the courts with reference to the circumstances existing at the time of the passage.”

United States v. Wise, 370 U.S. 405, 411 (1962); see also Whitman v. Am. Trucking Associations,

531 U.S. 457, 471 (2001) (ruling that a statute must be “interpreted in its statutory and historical

context” (emphasis added)). Immediately following the Civil War, the federal government

undertook a broad effort to bring Black voters into the political process and safeguard that

participation from attack. By 1870, Congress had passed the Thirteenth, Fourteenth, and Fifteenth

Amendments to abolish slavery and its badges and incidents; guarantee due process, equal

protection of the laws, and punish voting deprivations with reduced congressional representation;

and outlaw race discrimination in voting. These Reconstruction Amendments, along with local

organizing efforts by groups including the Union League and the Republican Party, led to a period

of widespread electoral success for newly enfranchised Black voters, their allies in the South, and


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their desired Republican candidates. Foner, supra n.1, at 291-307. This coalition briefly enjoyed

electoral success in nearly all Southern governorships and legislatures while also electing Black

representatives to Congress for the first time. Id. at 353. But the KKK and similar militant groups

responded to these electoral victories with a sustained campaign of violence, threats, and

intimidation. See, e.g., id. at 425-44. The Klan’s violence was politically motivated—designed to

overcome Black Republicans and their white Republican allies with force when they could not

defeat them at the ballot box. The KKK and like groups effectively functioned as “a military force

serving the interests of the Democratic party, the planter class, and all those who desired the

restoration of white supremacy.” Id. at 425. To address this pervasive political violence problem

and fulfill Congress’s “idealistic determination that the gains of the Civil War not be surrendered,”

Oregon v. Mitchell, 400 U.S. 112, 254 (1970) (Brennan, J., dissenting in part and concurring in

part), Congress devised the support-or-advocacy clauses to be a broad solution.

       The expansive reach of the KKK Act’s other provisions also establishes that Congress

sought to fully safeguard participants in the political process from mob violence and intimidation

in all forms. See King v. Burwell, 576 U.S. 473, 492 (2015) (provisions “must be read in their

context and with a view to their place in the overall statutory scheme” (citation omitted)); see also

Griffin, 403 U.S. at 98 (stating that the Court’s “construction of Section 1985(3) is reinforced when

examination is broadened to take in its companion statutory provisions”). For example, the KKK

Act established a then-unprecedented private right of action for violations of constitutional rights

(now codified, as amended, at 42 U.S.C. § 1983), and dramatically expanded protections for

federal government officials performing their federal duties. See KKK Act of Apr. 20, 1871, Ch.

22, § 1, 17 Stat. 13 (Ex. C) (private right of action), § 2, 17 Stat. at 13-14 (federal official

protections). The 1871 Congress also reached even further by authorizing President Grant to



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engage the military to confront the massive private lawlessness in the South, permitting the

temporary suspension of the writ of habeas corpus, and empowering courts to remove potential

jurors because of their perceived support of the KKK. See id. § 3, 17 Stat. at 14 (military

authorization), § 4, 17 Stat. at 14-15 (habeas suspension), § 5, 17 Stat. at 15 (juror qualification).

This wide-ranging statutory scheme confirms that, in drafting Section 1985(3), Congress legislated

at the height of its power to release the KKK’s stranglehold on the South and protect voters and

candidates’ ability to freely engage in the democratic process. See Foner, supra n.1, at 455. Section

1985(3)’s comprehensive support-or-advocacy provisions played a key role in pursuing this goal.

       Moreover, the history of Congress’s prior enactments to protect against extremist groups

also “underscores the . . . nature of” Section 1985(3)’s expansive coverage. See Ross v. Blake, 136

S. Ct. 1850, 1857 (2016); see also FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 143

(2000) (reaffirming “classic judicial task of reconciling many laws enacted over time, and getting

them to ‘make sense’ in combination” (citation omitted)). The KKK Act was the third in a series

of increasingly stringent Enforcement Acts designed to stop the severe threats to the Nation’s

democracy that prior legislation failed to address or left gaps, such as in the Civil Rights Act of

1866. See Foner, supra n.1, at 454-55. These prior laws fell short in protecting voters and campaign

workers, an increasingly important objective in 1871 that was necessary to achieve the ultimate

goal of restoring democratic order in the South. See id. at 455-59. Congress designed Section

1985(3) to correct these shortcomings in existing law. Accordingly, the support-or-advocacy

clauses should be interpreted to have the expansive reach that their language requires.

       C.       Legislative history favors reading the support-or-advocacy clauses broadly.
       The Section 1985(3) legislative history also provides “clear evidence of congressional

intent” to enact a broad statute that would fully protect supporters of federal candidates from

violent conspiracies. See Milner v. Dep’t of Navy, 562 U.S. 562, 572 (2011). This legislative

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history of the support-or-advocacy clauses reveals Congress’s clear concern that stopping the

KKK’s politically motivated violence was urgently needed to preserve American democracy. See

Mark Fockele, A Construction of Section 1985(c) in Light of Its Original Purpose, 46 U. Chi. L.

Rev. 402, 407-11 (1979) (detailing legislative history).9 The leading Committee Report for the bill

puts this core objective beyond doubt, concluding that “[i]t is clearly established . . . [t]hat the Ku-

Klux organization does exist, has a political purpose, is comprised of members of the democratic

or conservative party, [and] has sought to carry out its purpose by murders, whippings,

intimidations, and violence.” Id. at 408 (quoting H.R. Rep. No. 1, 42d Cong., 1st Sess. xxx-xxxi).

Congress understood that the KKK’s goal was “to reestablish Democratic hegemony in the South”

through political violence rather than fair electoral success, and knew that a narrow statutory

prohibition would fail to ward off this dire threat to democracy. See id. As one member put it, “[i]f

political opponents can be marked for slaughter by secret bands of cowardly assassins who ride

forth with impunity to execute the decrees upon the unarmed and defenseless, it will be fatal alike

to the Republican party and civil liberty.” Cong. Globe, at 321 (Rep. Stoughton).

        In sum, Section 1985(3)’s language is vast, and its statutory context, history, and purpose

confirm its expansive application. To read it fairly is to read it broadly, and the Court should

interpret the Section 1985(3) support-or-advocacy clauses in accordance with the statute’s wide

sweep and Congress’s firm intent to protect the proper functioning of the democratic process

against political violence and intimidation.

II.     Section 1985(3) applies to the conspiracy conduct alleged in the Complaint.
        The Section 1985(3) support-or-advocacy clauses prohibit Defendants’ alleged conspiracy.

First, the clauses provide substantive rights to protect citizens from conspiracies to obstruct,


9
 For more on the KKK Act legislative history, see Note, The Support or Advocacy Clause of §
1985(3), supra n.5, at 1389-92.
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through intimidation or other means, their support or advocacy for federal candidates. Second,

Plaintiffs need not establish state action to state their claim because the support-or-advocacy

clauses prohibit private conspiracies and that prohibition is firmly grounded within Congress’s

constitutional authority. Third, Plaintiffs have no obligation to allege discrimination because the

Section 1985(3) support-or-advocacy clauses, unlike the statute’s equal protection clauses, do not

require Plaintiffs to prove that racial or other class-based animus motivated the conspiracy.

       A.       The Section 1985(3) support-or-advocacy clauses provide their own
                substantive rights, including to be free from intimidation.
       As explained above, the Section 1985(3) support-or-advocacy clauses establish their own

substantive protections against conspiracies to prevent any citizens from supporting or advocating

for federal candidates, or to injure citizens in person or property on account of such support or

advocacy. Unlike the statute’s equal protection clauses, claims under the support-or-advocacy

clauses do not ask plaintiffs to identify a discriminatory violation of a separate constitutional or

statutory right. These parts of Section 1985(3) themselves give Plaintiffs substantive rights to be

free from conspiracies using violence or intimidation to hinder their support for a federal candidate.

See Paynes, 377 F.2d at 63-64 (holding that Section 1985(3)’s support-or-advocacy clauses

provide their own substantive rights); LULAC, 2018 WL 3848404, at *4-6 (same). Thus, as Judge

Wisdom concluded in analyzing the analogous voter intimidation protections in the Civil Rights

Act of 1957, “[t]he inquiry . . . is not whether the defendants have transgressed the Constitution.

It is whether they have violated the statute” that here provides its own substantive rights against

intimidation. United States v. McLeod, 385 F.2d 734, 740 (5th Cir. 1967).

       Plaintiffs have properly invoked their statutory rights and allege sufficient facts to establish

that the “Trump Train” conspiracy and its effects on Plaintiffs amount to “intimidation” as that

term is used in the support-or-advocacy clauses. See Compl. ¶¶ 129-35, 141. Although the methods


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of political intimidation may change over time and require adapting the KKK Act to new contexts,

see, e.g., LULAC, 2018 WL 3848404, at *4, the conduct here requires no such adaption because

this case is a modern mirror image of the political violence Congress sought to address in 1871.

“Today, almost 150 years later, the forces and conflicts that animated Congress’s adoption of the

Ku Klux Klan Act . . . are playing out again.” Nat’l Coal. on Black Civic Participation, 498 F.

Supp. 3d at 464. And these attacks—reminiscent of the tactics and even symbolism that marked

the Reconstruction-era political violence—amount to “contemporary means of” the same “voter

intimidation [that] may be more detrimental to free elections than the approaches taken for that

purpose in past eras, and hence call for swift and effective judicial relief.” Id.

       At least three sources confirm that the meaning of “intimidation” in Section 1985(3) covers

Defendants’ alleged conspiracy: contemporaneous dictionary definitions of the term at the time of

the statute’s enactment; the interpretation of “intimidation” in other federal civil rights statutes;

and the U.S. Department of Justice’s guidance on the meaning of the term. Using these and other

sources, courts have broadly interpreted “intimidation” to encompass a wide range of conduct,

from physical violence to emotional distress to other forms of coercion, that places the targeted

person(s) in fear. Plaintiffs’ allegations fit this accepted broad understanding of intimidation in

Section 1985(3). See Compl. ¶¶ 2, 4, 8-10, 96, 116-18, 129-35, 141.

       To begin, dictionary definitions support that the alleged conspiracy amounts to

intimidation. The 1867 Webster’s Dictionary defined “intimidate” as “[t]o make fearful; to inspire

with fear.—S[yn]. [t]o dishearten; dispirit; abash; deter; frighten; terrify,” Noah Webster, An

American Dictionary of the English Language 555 (1867) (Ex. D), and numerous additional

Reconstruction Era dictionaries attributed similar meaning to the word. See, e.g., Cady & Glazer,

supra n.5, at 196 (detailing definitions). Critically, this definition of “intimidate” does not address



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the methods of intimidation, whether physical violence, psychological injury, or otherwise. The

term instead focuses on the reaction that the conspirators’ conduct induces in the targeted

person(s), which adheres to “the most commonly understood ‘dictionary’ definition of

‘intimidate’” meaning “to place a person in fear.” See United States v. Hicks, 980 F.2d 963, 973

(5th Cir. 1992). This can be done through conduct that is “without . . . a direct or even veiled

threat.” Id. Thus, the meaning of “intimidate” as it has been understood from the Reconstruction

Era to today focuses on the state of mind that the perpetrator implants in the victim(s), and

Plaintiffs sufficiently allege they were intimidated under this accepted definition.

       The use of “intimidation” in related federal statutes also supports this meaning. The term

is identically used in 42 U.S.C. § 1985(2), a KKK Act provision that bars conspiracies to intimidate

parties or witnesses in connection with legal proceedings. In interpreting that section, courts have

held that the conspiracy victim’s emotional harm, not merely physical injury or distress, gives rise

to a claim for witness intimidation. See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1034

(11th Cir. 2000); Silverman v. Newspaper & Mail Deliverers’ Union of N.Y. and Vicinity, No. 97-

cv-040, 1999 WL 893398, at *4 (S.D.N.Y. Oct. 18, 1999). The Silverman court, for example,

explained that although the KKK Act sought “to address physical intimidation,” this “was not the

only goal of the statute.” Id. Section 1985(2)’s use of “intimidation” meant the provision was “also

designed to address improper interference with the judicial process” apart from physical attacks,

and plaintiffs could bring a claim alleging other types of interference “with the witness’ ability to

give ‘free, full and truthful testimony’ in federal court.” Id. This expansive definition of

intimidation informs the meaning of its identical usage in the support-or-advocacy clauses.

        “Intimidation” used in related civil rights statutes likewise favors this reading. See Cady

& Glazer, supra n.5, at 193-202 (summarizing civil rights cases interpreting “intimidate” or



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“intimidation”). Courts in this Circuit have construed “intimidation” in the analogous Civil Rights

Act of 1957 to encompass emotional harassment and other types of coercion beyond threats or

actual physical violence.10 Similarly, 42 U.S.C. § 3617 makes it unlawful to “intimidate, threaten,

or interfere with” a person’s enjoyment or exercise of fair housing rights, which numerous courts

have held covers intimidation that does not involve direct physical violence or threats.11 And

Section 131(b) of the Civil Rights Act prohibits intimidation that interferes with the right to vote

in federal elections, 52 U.S.C. § 10101(b), which courts have held includes intimidation through

emotional distress and non-physical coercion.12 These interpretations reveal that the term

“intimidation” used in civil rights statutes reaches a wide range of conduct to protect people from

violations of their rights, and the Section 1985(3) support-or-advocacy clauses are no exception.

       Finally, the Court may look to the Department of Justice’s definition of voter intimidation

to understand its meaning in the support-or-advocacy clauses. According to 2007 guidance,

intimidation is conduct designed to “deter or influence voting activity through threats to deprive

voters of something they already have, such as jobs, government benefits, or, in extreme cases,

their personal safety.” Craig C. Donsanto & Nancy L. Simmons, Public Integrity Section, U.S.



10
   See, e.g., McCleod, 385 F.2d at 740-41 (finding baseless arrests and unjustified prosecutions
were intimidation); United States v. Clark, 249 F. Supp. 720, 728 (S.D. Ala. 1965) (same); U.S.
by Katzenbach v. Original Knights of Ku Klux Klan, 250 F. Supp. 330, 341, 355 (E.D. La. 1965)
(finding that Klansmen purposefully going to locations where they expected Black Americans to
be exercising their civil rights was unlawful intimidation).
11
   See, e.g., Halprin v. Prairie Single Family Homes of Dearborn Park Ass’n, 388 F.3d 327, 330
(7th Cir. 2004) (scrawling a racial slur on plaintiffs’ property); People Helpers, Inc. v. City of
Richmond, 789 F. Supp. 725, 733 (E.D. Va. 1992) (excessive investigations of a rental property).
12
   See United States v. Beaty, 288 F.2d 653, 656 (6th Cir. 1961) (white landowners evicted and
refused to deal in good faith with Black tenant farmers for the purpose of interfering with their
voting rights, giving rise to a voter intimidation claim); United States v. Bruce, 353 F.2d 474 (5th
Cir. 1965) (white landowners ordered Black defendant who was active in promoting voter
registration to stay off their property, preventing him from reaching business clients); United States
v. Deal, 6 Race Rel. L. Rep. 474 (W.D. La. 1961) (white business owners refused to engage in
business transactions with Black farmers who attempted to register to vote).
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Dep’t of Justice, Federal Prosecution of Election Offenses 54 (2007).13 Plaintiffs’ allegations make

clear that Defendants conspired to deter them from advocating for their candidate by depriving

them of their sense of personal safety—a clear case of intimidation under this accepted meaning.

       These authorities resolve any doubt that the facts alleged here amount to intimidation under

any conceivable definition of that term, and indeed are reminiscent of the precise factual context

in which Congress designed this particular statute to operate to prevent political violence.

       B.       Support-or-advocacy claims do not require state action.
       Plaintiffs correctly state their Section 1985(3) claims against the private individuals

involved in the “Trump Train” conspiracy, and nothing in the support-or-advocacy clauses requires

proof of state involvement. Defendants’ contrary arguments are detached from Section 1985(3)’s

text and history. The suggestion that the statute could be unconstitutional if it does not require state

action is also meritless because Congress has ample constitutional authority to protect against

private conspiracies that undermine their own elections and the proper functioning of government.

       Nothing in the Section 1985(3) support-or-advocacy clauses text requires state action.

Unlike other KKK Act provisions, which ask plaintiffs to sue a “person [acting] under color of

[law] of any State,” 42 U.S.C. § 1983, or identify a deprivation of “the equal protection of the

laws” that may separately require state action, 42 U.S.C. § 1985(3) (equal protection clauses), the

support-or-advocacy clauses are not so limited. The text only requires plaintiffs to establish that

“two or more persons” (not acting under color of any law), “conspire[d] to prevent by force,

intimidation, or threat, any citizen . . . from giving his support or advocacy” (not requiring a

separate substantive right). 42 U.S.C. § 1985(3) (emphases added). The language that compels

state action in other KKK Act provisions is absent from the support-or-advocacy clauses.


13
  Available at https://www.justice.gov/sites/default/files/criminal/legacy/2013/09/30/electbook-
0507.pdf (last accessed September 9, 2021).
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       The legislative history also reveals that Congress designed Section 1985(3) without a state

action requirement because the problem it sought to address centered on the violence of private

vigilante groups who were not overtly acting on behalf of the government. Cf. Foner, supra n.1, at

432-44 (describing close relationship between KKK and government officials). As a secretive and

ostensibly non-governmental group, Congress knew that the KKK sought to “encourage crimes of

the most frightful nature to carry elections,” and believed it had to wholly “suppress them” to

“restore order, fair-dealing, equality, and peace, to secure free elections.” Id. State action was not

part of that calculation. Indeed, Congress was concerned that these outside forces were

undermining the government, not part of it. Cong. Globe, at 486 (Rep. Cook) (“Any combination

of men who shall conspire to prevent me from advocating the election of any qualified person to

any office under the Government of the United States . . . is an offense against the Government of

the United States.”). Nothing in the text or history of the support-or-advocacy clauses supports the

atextual suggestion that Congress sought to require state actors to be involved in the conspiracy.

       Congress’s sweeping constitutional authority over its elections empowers it to enact the

support-or-advocacy clauses without a state action limit. See Nicholas Stephanopoulos, The Sweep

of the Electoral Power, 36 Const. Comment 1, 35 (2021). Defendant Park’s contrary arguments,

see Park MTD at 8-14, overlook that, in addition to the Fourteenth Amendment, the support-or-

advocacy clauses are anchored in the Thirteenth Amendment, the Elections Clause, the Necessary

and Proper Clause, and the Guarantee Clause. Indeed, The KKK Act’s text forecloses Defendants’

effort to limit the statute because it states the bill was “An Act to enforce the Provisions of the

Fourteenth Amendment to the Constitution of the United States, and for other purposes.” 17 Stat.

at 13 (emphasis added). Defendants erroneously understate Congress’s extensive authority over

its elections and impermissibly read the words “for other purposes” out of the statute.



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       These “for other purposes” are not empty words. See Loughrin v. United States, 573 U.S.

351, 358 (2014) (courts must “give effect” to “every clause and word of a statute” (citation

omitted)). They provide that Congress enacted the KKK Act using additional constitutional bases

that do not require enforcement statutes to contain state action elements. First, the Thirteenth

Amendment warrants reading the support-or-advocacy clauses without a state action requirement

because it empowers Congress to enact legislation targeting private actions that preserve “the

badges and the incidents of slavery.” Griffin, 403 U.S. at 105. “Congress has the power under the

Thirteenth Amendment rationally to determine what are the badges and the incidents of slavery,

and the authority to translate that determination into effective legislation,” as it did in the KKK

Act. See Jones v. Alfred H. Mayer Co., 392 U.S. 409, 440 (1968). The Elections Clause and the

Necessary and Proper Clause in Article I also provide independent constitutional grounding for

Congress to enact the KKK Act under its extensive “power to protect the elections on which its

existence depends[] from violence[.]” Ex Parte Yarbrough, 110 U.S at 658; accord United States

v. Goldman, 25 F. Cas. 1350, 1354 (C.C.D. La. 1878) (holding that the KKK Act is rooted in the

Elections Clause). The Elections “Clause’s substantive scope is broad” and Congress’s power

under it is “paramount.” Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 8 (2013)

(citation omitted). These clauses authorize Congress to prevent private attacks and “protect . . . the

man who votes from personal violence or intimidation, and the election itself from corruption[.]” Ex

Parte Yarbrough, 110 U.S. at 661; see also Smiley v. Holm, 285 U.S. 355, 366 (1932) (the Elections

Clause authority includes the “protection of voters,” unconditioned by state action).

       The Guarantee Clause is likewise a “plenary” and “bountiful source of power [for Congress],

which cannot be called into question.” Cong. Globe, 40th Cong., 3d. Sess. 903 (1869) (Sen. Sumner).

It authorizes Congress to protect the “right of the people to choose their own officers for

governmental administration,” Duncan v. McCall, 139 U.S. 449, 461 (1891), and there is no

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requirement that state officials be responsible for the deprivation of that right. See Texas v. White,

74 U.S. 700, 721, 727 (1868) (specifying that “[t]he government and the citizens of the State,

refusing to recognize their constitutional obligations, assumed the character of enemies” and had

infringed the right to a republican form of government, which Congress has the authority to

guarantee for the “people or political community” of the state “as distinguished from a

government” (emphasis added)).14 Thus, Congress has extensive authority to enact the support-or-

advocacy clauses without requiring proof of state action. Because the text and history of the KKK Act

contain no indications that state action is required, Plaintiffs need not plead it.

        C.       Support-or-advocacy claims do not examine class-based discrimination.
        Claims under Section 1985(3)’s support-or-advocacy clauses also do not require proof that

racial or other class-based animus motivated the prohibited conspiracy. Defendants’ contrary

arguments—relying on inapposite cases concerning the statute’s distinct equal protection

clauses—run headlong into the provisions’ plain text, binding precedent on the proper

interpretation of Section 1985, the weight of recent persuasive authority, legislative history, and

interpretations of similar provisions of the KKK Act.

        First, the support-or-advocacy clauses’ plain text establishes that proof of discrimination is

not an element of Section 1985(3) claims enforcing those provisions.15 Although the Section

1985(3) equal protection clauses speak in terms of protecting “equal” rights and evaluating the

“purpose” driving the conspiracy, 42 U.S.C. § 1985(3), the support-or-advocacy clauses lack this

“critical language,” see Kush, 460 U.S. at 720. As the en banc Fifth Circuit concluded, it was these


14
   See also Gabriel J. Chin, Justifying A Revised Voting Rights Act: The Guarantee Clause and the
Problem of Minority Rule, 94 B.U. L. REV. 1551, 1565-70 & n.115 (2014).
15
   The lack of an animus requirement also does not take the support-or-advocacy clauses outside
the bounds of Congress’s constitutional authority because the Elections Clause, Necessary and
Proper Clause, and the Guarantee Clause do not limit Congress to preventing discrimination. See
supra Part II.B.; see also Stephanopoulos, supra, at 7-11; Primus & Kistler, supra n.5, at 164-70.
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provisions’ purpose-centered text and “the presence of the word ‘equal’ which allowed the Court”

in Griffin “to limit the application of the” Section 1985(3) equal protection clauses; “[b]y focusing

on that word, the justices discerned that the purpose to deprive another of the equal protection of

the laws must be class-based.” McLellan v. Mississippi Power & Light Co., 545 F.2d 919, 924 (5th

Cir. 1977) (en banc); see also Griffin, 403 U.S. at 102 (repeatedly emphasizing the word “equal”

to require proof of discrimination). Thus, “Griffin’s animus requirement rested on ‘the “equal

protection” language’ of § 1985(3),” Bray, 506 U.S. at 281 n.13, which the support-or-advocacy

clauses text omits. Instead, the support-or-advocacy clauses simply prohibit any conspiracy,

irrespective of its motivation, that uses “force, intimidation, or threat” to prevent “any citizen . . .

from giving his support or advocacy” to a federal candidate or “to injure any citizen in person or

property on account of such support or advocacy.” 42 U.S.C. § 1985(3). Because the support-or-

advocacy clauses “contain no language requiring that the conspirators act with intent to deprive

their victims of the equal protection of the laws,” there is no textual basis to interpret those

provisions to require discrimination. Kush, 460 U.S. at 725.

       Second, binding precedent also compels interpreting the support-or-advocacy clauses to

exclude a class-based animus element. As noted above, the Supreme Court has repeatedly

emphasized that the animus requirement applies to Section 1985(3) equal protection clauses claims

but does not extend to other parts of the statute absent a textual basis to do so. Kush, 460 U.S. at

724-26; see also Bray, 506 U.S. at 267, 281 n.13;16 Griffin, 403 U.S. at 102 & n.9. Even preceding

these decisions, the Fifth Circuit in Paynes distinguished the support-or-advocacy clauses from the

equal protection clauses, holding that plaintiffs must only show that the conspiracy hindered their



16
   Defendant Park’s reliance on Bray for support, Park MTD at 9-10, is misplaced. The Court
explicitly stated that the racial animus analysis it conducted was for an alleged “violation of the
first clause of § 1985(3),” which is not at issue here. Bray, 506 U.S. at 267-68 (emphasis added).
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“right to be free from threatened harm” while engaging in the political process “and the right to be

protected from violence for an attempted exercise of a voting right[.]” 377 F.2d at 64. Although

the factual summary in Paynes noted that the conspirators were “two unknown white men” and

the plaintiffs were Black, id. at 63, the court made no use of those facts in resolving the case and

did not discuss discrimination as a component of the analysis, see id. at 64-65. Moreover, all of

the purportedly contrary Fifth Circuit authority Defendants cite either concern the distinct equal

protection clauses of Section 1985(3)17 or have been subsequently overruled,18 and are therefore

irrelevant to resolving the meaning of the support-or-advocacy clauses.

       Third, persuasive authority supports that Section 1985(3) support-or-advocacy claims do

not require proof of discrimination. Numerous district courts have recently construed the statute

and reached precisely this conclusion. See, e.g., Nat’l Coal. on Black Civic Participation, 498 F.

Supp. 3d at 486 & n.30; LULAC, 2018 WL 3848404, at *5; Ariz. Democratic Party, 2016 WL

8669978, at *5 n.4. In LULAC, for example, the district court analyzed the Supreme Court’s

combined reasoning in Kush v. Rutledge, Griffin v. Breckenridge, and Bray v. Alexandria Women’s



17
   See, e.g., Cantu v. Moody, 933 F.3d 414, 419 (5th Cir. 2019) (“The relevant text of § 1985(3)
criminalizes only conspiracies that involve depriving someone of ‘equal protection of the laws’ or
‘equal privileges and immunities under the laws.’ . . . This kind of conspiracy requires some form
of class-based discrimination.” (citations omitted) (emphases added)); Horaist v. Doctor’s Hosp.
of Opelousas, 255 F.3d 261, 271 (5th Cir. 2001) (citing only equal protection clauses cases); Bryan
v. City of Madison, Miss., 130 F. Supp. 2d 798, 813 (S.D. Miss. 1999) (“[T]he conspiracy must
have as its purpose not only the deprivation of equal protection of the laws, but also a racial or
other class-based discriminatory motivation.”), aff’d 213 F.3d 267 (5th Cir. 2000); Galloway v.
State of La., 817 F.2d 1154, 1158 (5th Cir. 1987) (defendants “conspired to deprive . . . equal
protection of the laws”); Daigle v. Gulf State Utils. Co., Local Union No. 2286, 794 F.2d 974, 978
& n.2 (5th Cir. 1986) (noting the “pertinent part” of Section 1985(3) “prohibits private conspiracies
to deprive persons of equal protection of the laws”); McLellan, 545 F.2d at 933 (concerning “equal
protection of the laws within the meaning of [§ 1985(3)]” (emphasis added)).
18
   See Mitchell v. Johnson, No. 07-40996, 2008 WL 3244283, at *3 (5th Cir. Aug. 8, 2008) (noting
that Kimble v. D.J. McDuffy, Inc., 648 F.2d 340 (5th Cir. 1981), and Deubert v. Gulf Fed. Sav.
Bank, 820 F.2d 754 (5th Cir. 1987) were overruled); Newberry v. East Texas State University, 161
F.3d 276, 281 n.2 (5th Cir. 1998) (involving equal protection claim and relying on overruled cases).
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Health Clinic to conclude that the support-or-advocacy clauses “do[] not require allegations of a

race or class-based, invidiously discriminatory animus.” 2018 WL 3848404, at *6.19 The same

legal framework governs Plaintiffs’ claims and requires the same conclusion here.

       The legislative history and historical context of the statute likewise reinforce that Congress

intended the support-or-advocacy clauses to not require race discrimination. Although the statute

in its original context had the effect of preventing the KKK’s attacks mostly targeting recently

enfranchised Black citizens, Congress designed its protections to extend to “all the thirty-eight

millions of the citizens of this nation” at that time. Cong. Globe, at 484 (Rep. Wilson). Race was

not the focus of the support-or-advocacy clauses because, as Representative Coburn summarized,

the KKK’s “reign of terror” is “exactly, as they say, political.” Id. at 460. Allied white voters who

supported Black citizens and sought to elect Republicans—pejoratively called “scalawags” by

Southern racists—did not “escape the violence” of the KKK’s intimidation campaigns. See Foner,

supra n.1, at 427-28. As Representative Roberts summarized: “These acts of violence are not

directed against colored citizens only . . . . [T]he victims whose property is destroyed, whose

persons are mutilated, whose lives are sacrificed, are always Republicans. They may be black or

white . . . but only Republicans.” Cong. Globe, at 412-13. Thus, Congress wrote the KKK Act to

protect supporters of political candidates apart from their race because “[b]e they white or black,

they must have free speech, a free ballot, and a safe home.” Id. at 414.

       Moreover, other KKK Act provisions that are more textually aligned with the support-or-

advocacy clauses similarly diverge from the Section 1985(3) equal protection clauses by not




19
  Even courts that have erroneously limited other aspects of the support-or-advocacy clauses, such
as by requiring state action (at odds with the statute’s text and history), have agreed that plaintiffs
are not “required to show class-based animus as part of [their] support and advocacy claim.” See,
e.g., Federer v. Gephardt, 363 F.3d 754, 760 (8th Cir. 2004) (applying Kush, 460 U.S. at 725).
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requiring proof of discrimination. For instance, Section 1985(1), concerning conspiracies to

threaten federal officials, and Section 1985(2), prohibiting conspiracies against witnesses and

jurors in a judicial proceeding, do not have equality or purpose-focused language. 42 U.S.C.

§§ 1985(1); 1985(2). As such, courts have routinely interpreted those provisions to not contain a

discrimination element. See Canlis v. San Joaquin Sheriff’s Posse Comitatus, 641 F.2d 711, 717

(9th Cir. 1981) (Section 1985(1) claim); Stern, 547 F.2d at 1339 (same); Kush, 460 U.S. at 724-27

(Section 1985(2) claim); McCord, 636 F.2d at 614 & n.12 (same). Thus, the Section 1985(3) equal

protection clauses are the outlier in the KKK Act apparatus because those clauses explicitly

reference equality and purpose; the support-or-advocacy clauses do not have that language, and

like other similar KKK Act provisions, Plaintiffs are not required to prove discrimination.

III.   The First Amendment does not shield Defendants from liability.
       Defendants’ cursory First Amendment arguments, see Cisneros MTD 1-2; Park MTD at

17, are also unfounded. Although the First Amendment protects Defendants’ freedom of speech,

it does not provide a license to intimidate political opponents. See Virginia v. Black, 538 U.S. 343,

362-63 (2003); see also United States v. Stevens, 559 U.S. 460, 493 (2010) (stating that “[t]he First

Amendment protects freedom of speech, but it most certainly does not protect violent criminal

conduct, even if engaged in for expressive purposes”). Defendants chose to express their political

views not through heated debate or peaceful counterprotest but by forming a violent conspiracy to

ambush and intimidate supporters of an opposing candidate on a Texas highway. This choice takes

their conduct outside the bounds of free speech guarantees. The First Amendment simply “does

not protect activities that are violent or physically injurious, including threats of force and certain

physical obstructions, such as blockades of pedestrian traffic.” United States v. Bird, 124 F.3d 667,

683 (5th Cir. 1997); accord Cameron v. Johnson, 390 U.S. 611, 617 (1968) (ruling a prohibition

on picketing “engaged in a manner which obstructs or unreasonably interferes with ingress or

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egress to or from [a] courthouse . . . does not abridge constitutional liberty”). Likewise, even if the

conspirators meant Plaintiffs no physical harm, “[t]he threat of severe nonbodily harm can

engender as much fear and disruption as the threat of violence,” and is undeserving of First

Amendment protection. Nat’l Coal. on Black Civic Participation, 498 F. Supp. 3d at 479.

       That the Defendants sought to score a political point through their conspiracy makes no

difference for First Amendment purposes and instead further establishes that their conduct is

precisely what the KKK Act seeks to address. See supra Part I. The District Court in Daschle v.

Thune reached the same conclusion when faced with relatively similar factual circumstances. The

court ruled that the alleged conspiracy, which involved following and intimidating Native

American voters outside polling places, was not First Amendment protected irrespective of the

conspirators’ expressive goals. TRO at 2, Daschle v. Thune, No. 04-cv-4177 (D.S.D. Nov. 2, 2004)

(Ex. E). It held that “[w]hether the intimidation [wa]s intended or merely the result of excessive

zeal” was not pertinent because “the result was the intimidation.” Id. Here, too, Defendants’

alleged conspiracy resulted in intimidation. See supra Part II.A. And, as in Daschle, the mere fact

that this intimidating conduct was rooted in a desire to advocate for Defendants’ favored candidate,

as they assert, does not mean it warrants First Amendment protection.

       Thus, what Defendants call “zealous advocacy” is instead an unlawful conspiracy under

Section 1985(3). Their intimidation effort “inflicts harm upon the broader public’s interest in

selecting elected officials through a free and fair process,” Nat’l Coal. on Black Civic

Participation, 498 F. Supp. 3d at 488, and the First Amendment does not sanction their choices to

participate in the conspiracy merely because they had political motivations for doing so.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny the Defendants’ motions to dismiss.



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Date: September 13, 2021

                                      Respectfully submitted,

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                    AMERICAN                                              /yK
         DICTIONARY                                                         '
                                         OF THE




               ENGLISH LANGUAGE;
                                       EXHIBITING


   THE ORIGIN, ORTHOGRAPHY, PRONUNCIATION, AND DEFINITIONS
                          OF WORDS.                          .




                  By     NOAH WEBSTER,                            LL.D.

            ABRIDGED FROM THE QUARTO EDITION OF THE AUTHOR.

                                 TO   WHICH   IS   ADDED A


                     SYNOPSIS OF WORDS
            DIFFERENTLY PRONOUNCED BY DIFFERENT ORTHOEPISTS.


                              REVISED AND ENLARGED BY

                  CHATOCEY                    A.    GOODRICH,
                                PROFESSOR IN YALE COLLEGE.




       PRONOUNCING VOCABULARIES OF SCRIPTURE, CLASSICAL, AND
                       GEOGRAPHICAL NAMES.




                                 PHILADELPHIA:
                    J.   B.    LIPPINCOTT                        & CO.
                                         1867.
                             —             —— ——                                                                 — ;                ——                         — — ——                                                                          —                               :




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                                                      TNT                                                         555                                                                     INT
      stttium.]         1.   A
                      space between things but chiefly, a nar-                  ;                                       IN-TER- WReATHjED'                                          (in-ter-reefb.d'), a.                                  Woven                     in    .   t
      row or small space between things closely set, or the parts                                                           wreath.
      which compose a body. 2. Time between one act and                                                                 IN-TESTA-BLE,                            a. [L.intestabilis.]                            Not capable of making
      another.— Ayliffe.                                                                                                    a will   ;    legally unqualified or disqualified to                                                           make                  a test*
  tIN-TER-STINCTl VE, a. Distinguishing.— Wallis.                                                                           ment.
  IN-TER-STTTIAL (-stish'al), a. Pertaining to or containing                                                            IN-TEST'A-CY,             state of dying without
                                                                                                                                                                n.        The                                                                        making
      interstices.                                                                                                        will or disposing of one's effects.
  IN-TER-STRAT'1-Fi.ED (-strafe-fide),                                     a.        Stratified            among        IN-TEST'ATE, a. [Fr. intestat ; L. intestatus.]                                                                                  1.          Dyinp
    or betweeu other bodies. Encyc.                                                                                       without having made a will. 2. Not devised not dia                                                                             ;


  MN-TER-TALK'                   (in-ter-tawk'), v.                 i.    To exchange                      conver-        posed of by will.
      sation.                                                                                                           IN-TEST'ATE, n. A person who dies without making a
  IN-TER-TAN"GLE, v.                           t.    To       intertwist    ;       to entangle.                            will.        Blackslone.
  IN-TER-TEX'TBRE, n.      [L. intertextus.] The act of inter-                                                          IN-TES'TIN-AL,                           a.       Pertaining to the intestines of an animas
    weaving, or the state of things interwoven.                                                                             body.         Arbuthnot.
  INTER-TIE, In. In carpentry, a short, horizontal tim-                                                                 INTESTIN-A'LI-A,     n.pl. A class of animals which infest
  INTER DUCE, ) ber, framed between two posts in order                                                                    the interior of the bodies, and especially the intestinal
    to tie them together.  Brande.                                                                                        canal of other animals. Brande.
  IN-TER-TIS'StLED, a Wrought with joint tissue— Everest.                                                               INTESTINE, a. [Fr. intestin ; L. intestinus.] 1. Internal
  IN-TER-TRAN-SPIC'U-OUS, a. Transpicuous within or be-                                                                   inward opposed to external ; [applied to the human or
                                                                                                                                          ;


    tween.                                                                                                                other animal body.] 2. Interna] with regard to a state or
  IN-TER-TROP'IC-AL,                           a.     Situated between the tropics.                                       country domestic, not foreign as, intestine feuds. This
                                                                                                                                              ;                                                      ;


  IN-TER-TWiNE', v. t.                              To unite by twining or twisting one                                   word is usually or always applied to evils.
      with another.              Milton.                                                                                INTESTINE, n. ; usually in the plural, Intestines. The
  INTERTWINED'                        (in-ter-twind'), pp.                      Twined or twisted                        bowels ; a muscular canal or tube extending from the
      one with another.                                                                                                   stomach to the anus.
  IN-TER-TWiNTNG, ppr.                                Twining one with another.                                         INTEXTUR.ED,                                 a.        Inwrought; woven in.
  INTERTWlNTNG-LY,                                  adv.       By   intertwining or being                        in-    t   IN-THiRST'  (-thursf), v. t. To make thirsty.—Bp. Hall.
      tertwined.                                                                                                        INTHRALL',        t. [in and thrall.]
                                                                                                                                                           v. To enslave ; to reduce
  IN-TER-TWIST', v. t. To twist one with another.                                                                         to bondage or servitude to shackle.                         ;


  IN-TER-TWIST'ED, pp. Twisted one with another.                                                                        IN-THRALL.ED' (in-thrawld'), pp. or a. Enslaved ; reduced
  INTERTWISTING, ppr-                                  Twisting one with another.                                         to servitude.
  IN-TER-TWISTING-LY,                                adv. By intertwisting or being in-                                 IN-THRALLTNG,.ppr.                                          Enslaving.
      tertwisted.                                                                                                       INTHRALL'MENT,                                     n.         Servitude              ;       slavery                   ;    bondage.
  lN'TER-VAL, n. [Fr. intervalle ; L. intervallum.] 1. A space                                                              Milton.
    between things a void space intervening between any
                                  ;                                                                                     IN-THRoNE', v. t. 1. To seat on a throne to raise to roy-                                              ;


    two objects. 2. Space of time between any two points or                                                               alty or supreme dominion.  [See Enthrone.]    2. To in-
    events. 3. The space of time between two paroxysms of                                                                   duct a bishop into a vacant see.
      disease, pain, or delirium                          ;   remission.                 4.    The     distance         t   INTHRoN-I-ZaTION,                                       n.         The   act of enthroning, or state
      between two given sounds    in music, or the difference in                                                            of being enthroned.
      point of gravity or acuteness. 5. A tract of low or plain                                                         t   INTHRoN'lZE,                             v.   t.        To enthrone.
    ground between hills, or along the banks of rivers, usually                                                         IN'TI-MA-CY,                       n.     Close familiarity or fellowship                                                    ;       nearness
    alluvial land on rivers.— Hutchinson.                                                                                   in friendship.                       Rogers.
  IN-TER- VEIN-ED' (-vand), a. Intersected as with veins.                                                               IN'TI-MATE, a. [L. intimus.] 1. Inmost inward internal.                                        ;                                 ;


  IN-TER-VeNE', v. i. [L. intervenio.] 1. To come or be be-                                                               2. Near close. 3. Close in friendship or acquaintance
                                                                                                                                              ;
                                                                                                                                                                                                                                                                               ;

    tween persons or things to be situated between. 2. To
                                                      ;                                                                     familiar.
    come between points of time or events. 3. To happen in                                                              IN'TI-MATE,                                   A
                                                                                                                                                     familiar friend or associate
                                                                                                                                                           n.                      one to                                                                    ;


      a way to disturb, cross, or interrupt. 4. To interpose or                                                             whom         the thoughts of another are intrusted without re-
      under takevoluntarily for another.                                                                                    serve.
  t   INTER- VeNE',   n.   A coming between intervention.                                ;                              tIN'TI-MITE, v. i.      To share together.— Spenser.
      Wotton.                                                                                                           IN'TI-MaTE, v. t.      [Fr. intimer.]  To hint to suggest ob-                                              ;


  IN-TER- VeNTENT,                        a.         Coming         or being between; inter-                                scurely, indirectly, or not very plainly to give slight no-                                ;


      cedent interposed. Bacon.
                ;                  [Little used.]                                                                           tice    of
  IN-TER- VeN'ING, ppr. or a. Coming or being between per-                                                              IN'TI-Ma-TED, pp. Hinted slightly mentioned or signified.          ;

    sons or thing, or between points of time intermediate.                           ;                                  IN'TI-MATE-LY, adv. 1. Closely with close intermixture                           ;


  INTER-VENTION, n. [L. intervention 1. A state of coming                                                                 and union of parts. 2. Closely with nearness of friend-                    ;

    or being between; interposition. 2. Agency of persons                                                                   ship or alliance.  Familiarly particularly.   3.                         ;

    between persons interposition ; mediation any inter-
                                      ;                                                            ;                    lN'TI-MA-TING,#pr. Hinting; suggesting.
    ference that may affect the interests of others. 3. Agen-                                                           IN-TI-Ma'TION, n. [Fr.] Hint an obscure or indirect sug-                 ;


    cy of means or instruments. 4. Interposition in favor of                                                              gestion or notice a declaration or remark communicating
                                                                                                                                                                      ;


    another a voluntary undertaking of one party for an-
                    ;                                                                                                     imperfect information.
      other.                                                                                                            tIN'TIME, a. [L. intimus.] Inward internal. Digby.                                   ;


  INTER- VEN'TOR, n.      [L.]  A person selected anciently by                                                          IN-TIM'I-DXTE, v. t. [Fr. intimider.] To make fearful to                                                                                           ;



      a church to mediate in differences, and unite contending                                                            inspire with fear. Syn. To dishearten dispirit abash                                             ;                                 ;
                                                                                                                                                                                                                                                                               ;

      parties.                                                                                                          ;   deter; frighten; terrify.
  \IN-TER- VEN'UE, ra.     [Fr. intervenu.]                             Interposition.                                  IN-TIM'I-Dl-TED, pp. Made fearful abashed.                                               ;


  IN-TER- VERT, v. t.     [L. interverto.]                             To turn to another                               IN-TIM'I-Da-TING, ppr. Making fearful; abashing.
      course or to another use.    Wotton.                —            [Little used.]                                   IN-TIM-I-Da'TION, n. The act of making fearful the                                                                           ;                    state
  IN-TER- VER'TE-BRAL,                               a.       Being between the vertebrae.                                of being abashed.
  INTER- VIEW                (in'ter-vfi), n.                  [inter    and       mutual
                                                                                    view.]             A                IN-TINC-TIV'I-TY, n.                                    The want of the                        quality of coloring
    sight or view a meeting  ;                            ;   a conference or mutual com-                                   or tinging other bodies.                                      Kirwan.
    munication of thoughts.
                                                                                                                                                               See    Entire              ancl its derivatives.
  iN-TER-VIS'I-BLE, a. In surveying, an epithet applied to                                                              INTIRE'LY                     '
                                                                                                                                                           \
    stations which are mutually visible, or can be seen the                                                             IN-TITLE. See Entitle.
    one from the other.                                                                                                 INTO, prep, [in and to.] 1. Noting entrance or       a passing
  IN-TER-VOLVE'                   (in-ter-volv'), v.                t.   [L. intervolvo.]                   To   in-      from the outside of a thing to its interior parts. It follows
      volve one within another.Milton.                                                                                      verbs expressing motion ; as, to go into a house. 2. Not-
  IN-TER-VOLV£D' (in-ter-volvd'), pp. Involved one within                                                                   ing penetration beyond the outside or surface, or access to
    another wrapped together.
                    ;                                                                                                       it; as, to see into a subject. 3. Noting insertion    as, to                                                                         ;


  TNTER-VOLV'ING, ppr. Involving one within another.                                                                        put a leaf into a book. 4. Noting mixture as, to put sev-                                                  ;


  IN-TER-WeAVE', v. t. ; pret. interwove ; pp. interwoven. 1.                                                               eral things into composition.  5. Noting inclusion    as, to                                                                         ;


    To weave together to intermix or unite in texture or
                                           ;                                                                                put a thought into language. 6. Noting the passing of a
    construction. 2. To intermix ; to set among or together.                                                                thing from one form or state to another as, to be led into                                     ;


    3. To intermingle to insert together.
                                      ;                                                                                     error.
  INTERWEAVING, #pr. Weaving togetlfcr                                                                                  IN-TOL'ER-A-BLE,     a. [Fr.,from L. intolerable.] 1. Not to
  IN-TER- WEAVING, n. Intertexture.— Mitam.                                                                                 be borne that can not be endured insupportable. 2. In
                                                                                                                                                  ;                                                          ;


  IN-TER- WISH',                 v.   t.            To wish mutually                          to   each other.              sufferablenot to be allowed.
                                                                                                                                                      ;

      [Little used.]                                                                                                    IN-TOL'ER-A-BLE-NESS, n. The quality of being not tol-
  IN-TER- WISHED'    (-wishtf), #p.  Wished mutually.                                                                     erable or sufferable.
   'N-TER-WORK'ING, n. The act of working together.                                                                     IN-TOL'ER-A-BLY, adv. To a degree beyond endurance.
   IN-TER      Wo
             VE', pret. of interweave. Milton uses it for inter-                                                        IN-TOL'ER-ANCE,      n.   1. Want of capacity to endure.—
      woven.                                                                                                              Brande. 2. Want of toleration the not enduring at all,                         ,


      NTERWoVEN, pp.                           or    a.       Woven       together             ;   intermixed             or not suffering to exist without persecution.
      intermingled.                                                                                                     INTOL'ER-ANT, a. [Fr.] 1. Not enduring not able to en                                                          ;




        D6VE ;~BULL, UNITE ;—AN"GER, VI'CIOUS.— €                                                                as    K; d   as J;       S           as   Z;        cH        as   SH;        TH ts in this                               t       QbsoleU.
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